         Case 1:22-cv-10473-NMG Document 36 Filed 06/21/22 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

 MICHAEL BUSH,

        Plaintiff,                                   Case No.: 1:22­cv­10473­NMG
 v.

 THE WANG CENTER FOR THE
 PERFORMING ARTS, INC.
 d/b/a Boch Center,

        Defendant.



             DEFENDANT’S MOTION FOR A STAY OF DISCOVERY
       PENDING DECISION ON THE WANG CENTER’S MOTION TO DISMISS

       Defendant The Wang Center for the Performing Arts, Inc. d/b/a Boch Center (“The Wang

Center”) hereby moves to stay all discovery in this action (“Motion to Stay”) pending a decision

on its Motion to Dismiss Plaintiff’s First Amended Complaint (“Motion to Dismiss”). As discussed

in the Memorandum in Support of The Wang Center’s Motion to Stay, The Wang Center’s pending

Motion to Dismiss is likely to obviate the need for discovery in this case because Plaintiff’s claims

are likely to be dismissed as inadequately plead. Granting a temporary Motion to Stay all discovery

obligations would therefore be in the interests of efficiency, would conserve the parties’ resources,

and would not prejudice the Plaintiff because any resulting delay would be slight. The Wang

Center’s Motion to Stay should therefore be granted.



Dated: June 21, 2022                          Respectfully submitted,
                                              The Wang Center for the Performing Arts, Inc.
                                              d/b/a Boch Center
                                              By its attorneys,
                                              /s/ Bruce E. Falby


                                                 1
         Case 1:22-cv-10473-NMG Document 36 Filed 06/21/22 Page 2 of 3




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                               LOCAL RULE 7.1 STATEMENT

       Pursuant to Rule 7.1(a)(2) of the Local Rules of the United States District Court for the

District of Massachusetts, counsel for The Wang Center certifies that on June 20, 2022, and June

21, 2022, she reached out via e-mail and phone to Plaintiff to confer regarding the instant Motion

to Stay in an effort to resolve or narrow the issues in good faith. Plaintiff responded by email on

June 21 that he was available to confer on June 22. Counsel for The Wang Center responded by

email describing the Motion to Stay, offering to speak with Mr. Bush any time on the afternoon of

June 21, and explaining that they would be filing the Motion on June 21 as it is intertwined with

their opposition to Plaintiff’s Motion to Compel. Counsel for the Wang Center offered to forgo

their motion if Mr. Bush withdrew his and invited an email response if he was unavailable by

phone. Mr. Bush did not respond on the afternoon of June 21. Counsel for the Wang Center did

not expect that Plaintiff would agree to their offer or to the relief requested in The Wang Center’s

Motion to Stay discovery in the above-captioned action given that Plaintiff has already filed a

Motion to Compel the same discovery.

                                              /s/ Kelsey Tavares
                                              Kelsey Tavares




                                                 2
         Case 1:22-cv-10473-NMG Document 36 Filed 06/21/22 Page 3 of 3




                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been furnished this 15th

day of June 21, 2022 via email and first class mail to:

       Michael Bush
       280 Lowell Street
       Carlisle, MA 01741
       frymesomebacon@protonmail.com

       Plaintiff
                                              /s/ Bruce E. Falby
                                              Bruce E. Falby




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